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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    : Crim. No. 1:16-CR-0108
                                            :
             v.                             :
                                            :
JOSEPH NEWTON                               : Judge Sylvia H. Rambo

                   MEMORANDUM AND ORDER

      Defendant Joseph Newton’s motion for compassionate release pursuant to 18

U.S.C. § 3582(c)(1)(A) (Docs. 689, 701) will be denied without prejudice.

      Under the compassionate release statute, the court may reduce a defendant’s

sentence, after considering the factors set forth in 18 U.S.C. § 3553(a), if it finds that

extraordinary and compelling reasons warrant such a reduction and that the

reduction is consistent with the applicable policy statements by the Sentencing

Commission. 18 U.S.C. § 3582(c)(1)(A)(i).

      Mr. Newton’s motion, however, is premature because he has not yet

exhausted his remedies. Section 3582(c)(1)(A) makes clear that the court “may not”

modify or reduce a sentence upon motion of a defendant until after he has “fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to

bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever is earlier.”

      While Mr. Newton did previously submit a petition to the warden requesting

that the BOP move for his compassionate release under 18 U.S.C. § 3582(c)(1)(A),


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that request—in contrast to his present motion—was not based on the COVID-19

pandemic. (See Doc. 701-2.) That request therefore may not be considered for

purposes of exhaustion because, as the Western District explained in addressing a

similar motion: “One of the purposes for requiring prisoners to exhaust their

administrative remedies before bringing a claim in federal court is to give the BOP

an opportunity to address the issue. To properly exhaust administrative remedies,

therefore, the administrative complaint must raise the same claims asserted in the

federal court filing.” United States v. Valenta, 2020 WL 1689786, at *1 (W.D. Pa.

Apr. 7, 2020) (citing Gadra-Lord v. Doe, 736 F. App’x 30, 32 (3d Cir. 2018); see

also United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (emphasizing the need

for “strict compliance” with the exhaustion requirement in the wake of the COVID-

19 pandemic); United States v. Pitt, No. 1:97-CR-108, 2020 WL 2098272, at *2

(M.D. Pa. May 1, 2020) (Rambo, J.) (denying motion for compassionate release

without prejudice where the defendant’s prior request to the warden was not based

on the COVID-19 pandemic or medical reasons).




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      Mr. Newton thus must first properly petition the warden to bring a motion on

his behalf and may only move this court after he exhausts all his administrative

remedies or allows 30 days to lapse from the warden’s receipt of such petition.

Accordingly, Mr. Newton’s motion for compassionate release is DENIED

WITHOUT PREJUDICE.

      IT IS SO ORDERED.


                                            /s/ Sylvia H. Rambo
                                            SYLVIA H. RAMBO
                                            United States District Judge


Dated: September 18, 2020




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